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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLIINOIS
                                EASTERN DIVISION

GM CASTING HOUSE INC.                                ) Case No. 1:24-cv-01821
                                                     )
                       Plaintiff,                    )
                                                     ) STATUS REPORT
       v.                                            )
                                                     )
FOREVER COMPANIES, INC.                              )
                                                     )
                       Defendant.                    )
                                                     )
                                                     )
       Pursuant to this Court’s Minute Orders dated October 28, 2024 (ECF No. 35) and

November 21, 2024 (ECF No. 40), Plaintiff GM Casting House Inc. (“GM”) submits the following

status report “setting forth what discovery has been completed, what discovery remains, and

whether any discovery disputes require the Court’s attention.” GM is filing this status report

unilaterally because, after GM emailed its proposed joint status report to counsel for Defendant

Forever Companies, Inc. dba Diamond Nexus (“Diamond Nexus”), counsel for Diamond Nexus

neither concurred in the filing of this document nor granted permission to use any electronic

signature.

       1.      Completed Discovery

       GM and Diamond Nexus exchanged initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1)

on June 14, 2024.

       GM served its first sets of interrogatories and requests for production on Diamond Nexus

on July 12, 2024. Diamond Nexus served its first sets of interrogatories and requests for production

on GM on July 15, 2024. In light of ongoing settlement discussions, the parties mutually agreed to

extend their respective deadlines to respond to the discovery requests. Diamond Nexus’ responses

were due October 23, 2024 but failed to respond. On October 25, 2024, GM responded to the

written discovery served on them.

       2.      Remaining Discovery

       GM anticipates serving additional interrogatories and requests for production on



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Diamond Nexus and to take deposition(s) of Diamond Nexus once GM receives Diamond Nexus’

responses to the first sets of written discovery. GM also intends to serve requests for admission on

Diamond Nexus in the next several months. GM also anticipates third party discovery will be

prepared and served. Additionally, GM anticipates expert discovery will be necessary.

       3.      Discovery Disputes

       As noted above, Diamond Nexus’s responses to discovery were due on October 23, 2024.

However, GM did not receive written objections or responses from Diamond Nexus by this

deadline. On October 24, 2024, counsel for GM requested to meet and confer with counsel for

Diamond Nexus pursuant to Local Rule 37.2 to discuss Diamond Nexus’ failure to respond to

discovery. Counsel for Diamond Nexus, Daniel R. Woods, responded: “[m]y firm and I are

withdrawing from the case, and will not be in position to prepare responses to Plaintiff’s

discovery.” On November 12, 2024, Mr. Woods, on behalf of himself, James Rozak, and the Law

Firm of Goldberg Segall, filed a Motion to Withdraw (ECF No. 37), which was granted by the

Court on November 19, 2024 (ECF No. 39).

       On October 24, 2024, counsel for GM asked whether co-counsel for Diamond Nexus,

Edmund J. Ferdinand III, will continue to represent Diamond Nexus and whether he would agree

to meet and confer regarding his client’s failure to respond to discovery. Mr. Ferdinand responded

only with: “I will plan to withdraw as well.”

       On November 18, 2024, GM filed its Unopposed Motion to Compel. (ECF No. 38). On

November 13, 2024, pursuant to Local Rule 37.2 and prior to filing the Unopposed Motion,

counsel for GM conferred by video conference with Mr. Ferdinand III in an effort to resolve these

disputes. The parties, however, were unable to reach an accord. Counsel for Diamond Nexus

indicated that Diamond Nexus would not oppose this motion.

       On November 21, 2024, the Court directed the parties “to meet and confer the outstanding

discovery requests in an effort to resolve the pending motion to compel. The parties shall include

an update regarding those efforts in the 12/16/24 joint status report.” ECF No. 40. Pursuant to the

Court’s directive, counsel for GM emailed Mr. Ferdinand on December 6, 2024 to determine



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whether there were any updates to his last statement that Diamond Nexus would not respond to

the discovery and would not oppose the motion to compel. Mr. Ferdinand replied that same day

confirming that there was no need to meet and confer because Diamond Nexus is “moving toward

liquidation.”

       4.       Consent and Settlement Discussions

       At the parties’ request, a settlement conference was held before the Honorable Young B.

Kim on October 8, 2024. The parties were unable to resolve the case.



DATED: December 16, 2024                           Tucker Ellis LLP



                                                   By:    /s/Howard A. Kroll
                                                          Howard A. Kroll
                                                          Nathan T. Newman
                                                          Attorneys for Plaintiff
                                                          GM Casting House Inc.




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